Case
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BEFORE: JAMES M. WICKS, U.S. MAGISTRATE JUDGE                                   DATE: 01/18/2024
                                                                                TIME: 11:30 AM
                                                                          ☐ SEALED PROCEEDING

                       CIVIL CAUSE FOR STATUS CONFERENCE
        CASE: 2:23-cv-01668-JMA-JMW-Winters v. Phountain PH Holdings Corp. et al.

APPEARANCES:

       For Plaintiff:                                      Joshua Mathew Friedman

       For Defendant (Phountain PH Holdings Corp.):        Diana Y. Seo

       For Defendant (Patrick Cooley):                     Cory H. Morris, with Defendant, Patrick
                                                           Cooley


Court Reporter/FTR:          11:28-11:43 (Video)

THE FOLLOWING RULINGS WERE MADE:

☒      Status Conference held on January 18, 2024.

☒      For reasons stated on the record, the Court grants Counsel for Defendant’s, Phountain PH
       Holdings Corp., Motion to Withdraw as Attorney (ECF No. [31]). In addition, the Court denies
       without prejudice with leave to renew, Plaintiff’s Motion to Compel (ECF No. [34]). The
       undersigned will issue a written Order on these motions. On or before January 22, 2024,
       Counsel for Defendant is directed to serve a copy of this electronic order and the Memorandum
       Order upon Defendant Phountain PH Holdings Corp. and its principals.
☒      On or before February 19, 2024, Phountain shall retain new counsel and that counsel shall file
       a notice of appearance on ECF. Discovery is held in abeyance pending new counsel being
       appointed for Phountain PH Holdings Corp.
A Status Conference has been scheduled for March 7, 2024 at 10:00 AM via the Court’s Video Zoom.
The Court will email the Zoom invitation closer to the conference date. This conference is a public
proceeding, and all are welcome to attend via telephone or via video. If you would like to receive the
Zoom invitation, please contact Judge Wicks’ Courtroom Deputy at (631) 712-5625.




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THE PARTIES ARE REMINDED that audio or video recording of proceedings by any party other than
the Court is strictly prohibited by Local Civil Rule 1.8. Violation of this rule may result in sanctions,
including removal of court issued media credentials, restricted entry to future hearings, denial of entry to
future hearings, or any other sanctions deemed appropriate by the Court.



                                                      SO ORDERED
                                                       /s/James M. Wicks
                                                      JAMES M. WICKS
                                                      United States Magistrate Judge




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